
333 S.E.2d 490 (1985)
R. Marie SIDES
v.
DUKE UNIVERSITY, Gloria Farmer, Merel Harmel, and John Miller.
No. 320P85.
Supreme Court of North Carolina.
August 13, 1985.
Powe, Porter &amp; Alphin, Durham, for defendant Duke University.
Edelstein, Payne &amp; Jordan, Raleigh, for plaintiff.
Smith, Anderson, Blount, Dorsett, Mitchell &amp; Jernigan, Raleigh, for defendants Merel Harmel and John Miller.
Defendant's (Duke Hospital) petition for discretionary review under G.S. § 7A-31. Denied.
